 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 1 of 29 PagelID 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 75) Joo.

 

KISSEL FAMILY TRUST, Individually and On

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CIVIL ACTION NO

Behalf of All Others Similarly Situated, .
Plaintiff, 2: O -cV_- To ~pem-29.S PC-
VS. CLASS ACTION COMPLAINT
RADIATION THERAPY SERVICES, INC.,
DANIEL E. DOSORETZ, HOWARD M.
SHERIDAN, DAVID M. KOENINGER, JOSEPH JURY TRIAL DEMANDED

 

BISCARDI, JAMES H. RUBENSTEIN, and
MICHAEL J. KATIN,

Defendants.

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Plaintiff, Kissel Family Trust (“Plaintiff”), individually and on behalf of all other persons
similarly situated, by its undersigned attorneys, for its complaint against defendants, alleges the
following based upon personal knowledge as to itself and its own acts, and information and belief
as to all other matters, based upon, infer alia, the investigation conducted by and through its
attorneys, which included, among other things, a review of the defendants’ public documents,
conference calls and announcements made by defendants, United States Securities and Exchange
Commission (“SEC”) filings, wire and press releases published by and regarding Radiation Therapy
Services, Inc. (“Radiation Therapy” or the “Company”) securities analysts’ reports and advisories
about the Company, and information readily obtainable on the Internet. Plaintiff believes that
substantial evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 2 of 29 PagelD 2

NATURE OF THE ACTION

1. This is a federal securities class action on behalf of a class consisting of all persons
other than defendants who purchased the common stock of Radiation Therapy between June 17,
2004 and September 8, 2004, seeking to recover damages caused by Defendants’ violations of
federal securities laws and pursue remedies under the Securities Exchange Act of 1934 (the
“Exchange Act”).

JURISDICTION AND VENUE

2. The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of
the Exchange Act, (15 U.S.C. §§ 78j(b) and 78t(a)), and Rule 10b-5 promulgated thereunder (17
C.F.R. §240.10b-5).

3. This Court has jurisdiction over the subject matter of this action pursuant to §27 of
the Exchange Act (15 U.S.C. §78aa) and 28 U.S.C. § 1331.

4, Venue is proper in this Judicial District pursuant to §27 of the Exchange Act, 15
U.S.C. § 78aa and 28 U.S.C. § 1391(b). Many of the acts and transactions alleged herein, including
the preparation and dissemination of materially false and misleading information, occurred in
substantial part in this District.

5. In connection with the acts, conduct and other wrongs alleged in this complaint,
defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.
Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 3 of 29 PagelD 3

PARTIES

6. Plaintiff Kissel Family Trust as set forth in the accompanying certification,
incorporated by reference herein, purchased Radiation Therapy securities at artificially inflated prices
during the Class Period and has been damaged thereby.

7. Defendant Radiation Therapy is a Florida corporation that maintains its principal
place of business within this judicial district at 2334 Colonial Boulevard, Fort Myers, FL 33907.

8. Defendant Daniel E. Dosoretz (“Dosoretz’”’) was, at all relevant times, the Company’s
President and Chief Executive Officer.

9. Defendant Howard M. Sheridan (“Sheridan”) was, at all relevant times, the
Company’s Chairman of the Board.

10. Defendant David M. Koeninger (“Koeninger’) was, at all relevant times, the
Company’s Executive Vice President and Chief Financial Officer.

11. Defendant Joseph Biscardi (“Biscardi’’) was, at all relevant times, the Company’s
Corporate Controller and Chief Accounting Officer.

12. Defendant James H. Rubenstein (“Rubenstein”) was, at all relevant times, the

Company’s Medical Director, Secretary and Director.

13. Defendant Michael J. Katin (“‘Katin”) was, at all relevant times, a Director at the
Company.
14, Defendants Dosoretz, Sheridan, Koeninger, Biscardi, Rubenstein, and Katin, are

collectively referred to hereinafter as the “Individual Defendants.” During the Class Period, each
of the Individual Defendants, as senior executive officers and/or directors of Radiation Therapy were

privy to non-public information concerning its business, finances, products, markets and present and

-3-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 4 of 29 PagelD 4

future business prospects via access to internal corporate documents, conversations and connections
with other corporate officers and employees, attendance at management and Board of Directors
meetings and committees thereof and via reports and other information provided to them in
connection therewith. Because of their possession of such information, the Individual Defendants
knew or recklessly disregarded the fact that adverse facts specified herein had not been disclosed to,
and were being concealed from, the investing public.

15. Because of the Individual Defendants’ positions with the Company, they had access
to the adverse undisclosed information about the Company’s business, operations, operational trends,
financial statements, markets and present and future business prospects via access to internal
corporate documents (including the Company’s operating plans, budgets and forecasts and reports
of actual operations compared thereto), conversations and connections with other corporate officers
and employees, attendance at management and Board of Directors meetings and committees thereof
and via reports and other information provided to them in connection therewith.

16. It is appropriate to treat the Individual Defendants as a group for pleading purposes
and to presume that the false, misleading and incomplete information conveyed in the Company’s
public filings, press releases and other publications as alleged herein are the collective actions of the
narrowly defined group of defendants identified above. Each of the above officers of Radiation
Therapy, by virtue of their high-level positions with the Company, directly participated in the
management of the Company, was directly involved in the day-to-day operations of the Company
at the highest levels and was privy to confidential proprietary information concerning the Company
and its business, operations, growth, financial statements, and financial condition, as alleged herein.

Said defendants were involved in drafting, producing, reviewing and/or disseminating the false and

-4-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 5 of 29 PagelD 5

misleading statements and information alleged herein, were aware, or recklessly disregarded, that
the false and misleading statements were being issued regarding the Company, and approved or
ratified these statements, in violation of the federal securities laws.

17. Asofficers and controlling persons ofa publicly-held company whose securities were
and are registered with the SEC pursuant to the Exchange Act, and was traded on the NASDAQ and
governed by the provisions of the federal securities laws, the Individual Defendants each had a duty
to disseminate accurate and truthful information promptly with respect to the Company's financial
condition and performance, growth, operations, financial statements, business, markets,
management, earnings and present and future business prospects, and to correct any previously-
issued statements that had become materially misleading or untrue, so that the market price of the
Company's publicly-traded securities would be based upon truthful and accurate information. The
Individual Defendants' misrepresentations and omissions during the Class Period violated these
specific requirements and obligations.

18. The Individual Defendants participated in the drafting, preparation, and/or approval
of the various public and shareholder and investor reports and other communications complained
of herein and were aware of, or recklessly disregarded, the misstatements contained therein and
omissions therefrom, and were aware of their materially false and misleading nature. Because of
their Board membership and/or executive and managerial positions with Radiation Therapy, each
of the Individual Defendants had access to the adverse undisclosed information about Radiation
Therapy financial condition and performance as particularized herein and knew (or recklessly

disregarded) that these adverse facts rendered the positive representations made by or about
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 6 of 29 PagelID 6

Radiation Therapy and its business issued or adopted by the Company materially false and
misleading.

19. The Individual Defendants, because of their positions of control and authority as
officers and/or directors of the Company, were able to and did control the content of the various SEC
filings, press releases and other public statements pertaining to the Company during the Class Period.
Each Individual Defendant was provided with copies of the documents alleged herein to be
misleading prior to or shortly after their issuance and/or had the ability and/or opportunity to prevent
their issuance or cause them to be corrected. Accordingly, each of the Individual Defendants is
responsible for the accuracy of the public reports and releases detailed herein and is therefore
primarily liable for the representations contained therein.

20. Each of the defendants is liable as a participant in a fraudulent scheme and course of
business that operated as a fraud or deceit on purchasers of Radiation Therapy securities by
disseminating materially false and misleading statements and/or concealing material adverse facts.
The scheme (i) deceived the investing public regarding Radiation Therapy business, operations,
management and the intrinsic value of Radiation Therapy securities; and (ii) caused Plaintiff and
other members of the Class to purchase Radiation Therapy securities at artificially inflated prices.

PLAINTIFF’S CLASS ACTION ALLEGATIONS

21. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a) and (b)(3) on behalf ofa Class, consisting ofall persons who purchased the common
stock of Radiation Therapy from June 17, 2004 through September 8, 2004 and who were damaged

thereby. Excluded from the Class are defendants, the officers and directors of the Company, at all
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 7 of 29 PagelD 7

relevant times, members of their immediate families and their legal representatives, heirs, successors
or assigns and any entity in which defendants have or had a controlling interest.

22. | The members of the Class are so numerous that joinder of all members is imprac-
ticable. Throughout the Class Period, Radiation Therapy’s securities were actively traded on the
NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can
only be ascertained through appropriate discovery, Plaintiff believes that there are hundreds or
thousands of members in the proposed Class. Record owners and other members of the Class may
be identified from records maintained by Radiation Therapy or its transfer agent and may be notified
of the pendency of this action by mail, using the form of notice similar to that customarily used in
securities class actions.

23. Plaintiff's claims are typical of the claims of the members of the Class, as all
members of the Class are similarly affected by defendants’ wrongful conduct in violation of federal
law that is complained of herein.

24. Plaintiff will fairly and adequately protect the interests of the members of the Class
and has retained counsel competent and experienced in class and securities litigation.

25. Common questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members of the Class. Among the
questions of law and fact common to the Class are:

(a) whether the federal securities laws were violated by defendants' acts as alleged

herein;
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 8 of 29 PagelD 8

(b) whether statements made by defendants to the investing public during the Class
Period misrepresented material facts about the business, operations and management of Radiation
Therapy; and

(c) to what extent the members of the Class have sustained damages and the proper
measure of damages.

26. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
damages suffered by individual Class members may be relatively small, the expense and burden of
individual litigation make it impossible for members of the Class to individually redress the wrongs
done to them. There will be no difficulty in the management of this action as a class action.

SUBSTANTIVE ALLEGATIONS

27. Radiation Therapy is a provider of radiation therapy services to cancer patients. The
Company owns, operates and manages treatment centers, focused exclusively on providing
comprehensive radiation treatment alternatives ranging from conventional external beam radiation
to newer, technologically advanced options. The Company provides radiation therapy in 41
freestanding and 11 hospital-based treatment centers, of which 19 were internally developed, 22 were
acquired and 11 are hospital-based. Its treatment centers are clustered into 17 regional networks in
eight states, including Alabama, Delaware, Florida, Kentucky, Maryland, Nevada, New York and
North Carolina. The Company offers a full spectrum of radiation therapy alternatives, including
conventional external beam radiation therapy and advanced services, such as intensity modulated
radiation therapy, three-dimensional conformal treatment planning, patient targeting systems,

brachytherapy and stereotactic radiosurgery.
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 9 of 29 PagelD 9

28. On or about, June 15, 2004, Radiation Therapy filed with the SEC a Form S-1/A
Registration Statement (the “Registration Statement”) for the IPO. The Company’s Form S-1/A was
signed by the Individual Defendants.

29, On June 18, 2004, the Company announced that the underwritten initial public
offering of 5.5 million shares of its common stock had been priced at $13 per share. The shares of
its common stock would trade on the NASDAQ under the symbol “RTSX”. The Company would
offer 4 million newly issued shares of common stock in the initial public offering which would result
in gross proceeds to the Company of approximately $52 million. In addition, certain shareholders
would offer 1.5 million currently outstanding shares of common stock in the initial public offering
at the same price.

30. On or about June 18, 2004, the Prospectus (the Prospectus”) with respect to the IPO,
which forms part of the Registration Statement, became effective and $5,500,000 shares of Radiation
Therapy were sold to the public. The Company raised approximately $71.5 million.

31. In the Company’s June 18, 2004 Prospectus, the Company stated:

Our growth strategy is to further increase our market share within our
established regional networks and selectively expand into new
regions. The key elements of our growth strategy are to:

Increase Revenue and Profitability of Our Existing Treatment Centers

We plan to increase revenue and profitability at our treatment centers
within established regional networks by:

* increasing clinical referrals from physicians;

* expanding our offering of advanced treatment services;

* focusing on the continued implementation of standardized
treatment protocols;

* adding additional radiation oncologists; and

* entering into additional payor relationships.

-9-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 10 of 29 PagelID 10

Develop New Treatment Centers Within Our Existing Regional
Networks

We plan to develop treatment centers to expand our existing regional
networks. We have experience in the design and construction of
radiation treatment centers, having developed 19 treatment centers
located in Florida, Maryland, Nevada and New York. Our
newly-developed treatment centers typically achieve positive cash
flow within six to twelve months after opening. We currently have
two new treatment centers under development within our existing
regional networks, with one expected to replace an existing treatment
center.

Selectively Enter New Regions

We plan to selectively expand into new regions through acquisition,
new treatment center development and strategic alliances and joint
ventures. We evaluate potential expansion into new regions based on:

* demographic characteristics, including the number and
concentration of Medicare recipients, population trends and historical
and projected patient population growth and radiation treatment
volumes;
* the extent to which we may have any pre-existing relationships with
physicians or hospitals;
* the current competitive landscape of existing free-standing or
hospital-based radiation treatment centers;
* the payor environment; and

* the regulatory environment.

Expand Through Acquisitions. We plan to enter new regions through
the acquisition of established treatment centers that provide us the
opportunity to leverage our current infrastructure. We seek to acquire
treatment centers with leading radiation oncologists, strong clinical
referral sources and substantial prospects for growth. We believe that
significant opportunity exists to add value to acquired treatment
centers by providing advanced radiation therapy technology and
services and by implementing our proven operating model which
includes our standardized operating systems. We have entered eight
new regions through acquisitions and have acquired 22 treatment
centers to date.

-10-
 

 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 11 of 29 PagelD 11

Expand Through New Treatment Center Development. Where
desirable, we plan to enter new regions by internally developing new
radiation treatment centers. We have established seven new regional
networks located in Florida, New York and Maryland by internally
developing new radiation treatment centers. We currently plan to
develop new treatment centers in two new regions located in Rhode
Island and California.

Expand Through Strategic Alliances and Joint Ventures. We also plan
to enter new regions through strategic alliances and joint ventures.
These strategic alliances and joint ventures vary by region and can
include providing administrative services, technology services and
professional services or any combination thereof. To date, we have
established these arrangements primarily with hospitals seeking our
expertise in providing high-quality, cost-effective radiation therapy.
Our desire and ability to enter into strategic alliances and joint
venture arrangements depends on the regulatory and competitive
environment and other economic factors. We have experience in
effectively structuring these arrangements in a manner designed to
meet the needs of multiple constituencies, including the physicians,
the hospitals and regulatory authorities. Strategic alliances and joint
ventures provide us with alternative methods to enter attractive new
markets.

32. With respect to how the Company would use this proceeds of the IPO, the Company

stated:

We estimate that our net proceeds from the sale of the shares of
common stock we are offering will be approximately $46.8 after
deducting underwriting discounts and commissions and estimated
offering expenses payable by us based upon the initial public offering
price of $13.00 per share. We will not receive any proceeds from the
sale of shares by the selling shareholders.

We are required to use 50% of the net proceeds of this offering to
repay indebtedness under the term loans of our existing senior credit
facility. We intend to use approximately $44.1 million of our net
proceeds from the offering to repay borrowings outstanding under the
term loans of our existing senior credit facility. As of December 31,
2003, we had $51.9 million of borrowings outstanding under our
senior credit facility, consisting of approximately $28.2 million under
our revolving line of credit and $23.7 million under our existing term

-11-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 12 of 29 PageID 12

loan, which bore interest at a weighted average rate of 3.76%
annually. As of March 31, 2004, we had $40.0 million of additional
borrowings outstanding under our third amended and restated senior
secured credit facility pursuant to our add-on term loan facility used
to fund our special distribution. Of the repayments of our outstanding
borrowings, we anticipate that we will repay borrowings from our
existing term loan, which matures on April 15, 2007, and add-on term
loan facility, which matures on March 31, 2009, ona pro rata basis in
the amounts of $8.4 million and $15 million, respectively, from our
net proceeds from the offering. See “Management’s Discussion and
Analysis of Financial Condition and Results of Operation — Liquidity
and Capital Resources”.

In addition, we intend to use approximately $2.7 million of our net
proceeds to repay the principal and accrued interest on several
outstanding loans to certain of our directors, officers, principal
shareholders, employees and their relatives and certain entities in
which they own an interest. All of these loans are demand notes that
bear interest at 8% per year, except for demand notes in the amount
of $569,000 which bear interest at the prime rate.

We also intend to apply the balance of our remaining net proceeds of
$20.7 to pay down our revolving line of credit under our third
amended and restated senior secured credit facility.

Pending their application to the intended uses, we will invest the net
proceeds of this offering in cash, cash equivalents, money market
funds, or short-term interest-bearing, investment-grade securities.

33. With respect to related party transactions, the Company stated:

As shown below, there are certain transactions and relationships
between us and our directors, officers and the principal shareholders
set forth in our Principal and Selling Shareholders table included
elsewhere in this prospectus, which have occurred during the last
three fiscal years. We believe that the material terms of the various
transactions were as favorable as could have been obtained from
unrelated third parties. After the offering, any transactions between
us and our directors, officers and principal shareholders and their
affiliates will be approved by the Audit Committee of our board of
directors.

Administrative Services Agreements

-12-
 

Case 2:04-cv-00470-JES-SPC Document 1 Filed 09/21/04 Page 13 of 29 PageID 13

In Maryland, Nevada, New York and North Carolina, we have
administrative services agreements with professional corporations
owned by certain of our directors, officers and principal shareholders,
who are licensed to practice medicine in such states. We have entered
into these administrative services agreements in order to comply with
the laws of such states which prohibit us from employing physicians.
Our administrative services agreements generally obligate us to
provide treatment center facilities, staff and equipment, accounting
services, billing and collection services, management and
administrative personnel, assistance in managed care contracting and
assistance in marketing services. Terms of the agreements are
typically 20-25 years. We receive a monthly fixed fee for our
services. Our Chairman, Howard M. Sheridan, M.D., our Chief
Executive Officer and President, Daniel E. Dosoretz, M.D., our
Medical Director, James H. Rubenstein, M.D., a director, Michael J.
Katin, M.D., and a principal shareholder, Graciela R. Garton, M.D.,
own interests in these professional corporations ranging from 0% to
100.0%. The administrative services fees paid to us by such
professional corporations under the administrative services
agreements were approximately $8.8 million, $15.7 million and $21.8
million in 2001, 2002 and 2003, respectively.

Lease Arrangements with Entities Owned by Related Parties

We lease certain of our treatment centers and other properties from
related parties. We have entered into various lease arrangements with
entities owned by Drs. Sheridan, Dosoretz, Rubenstein, Katin,
Garton, a principal shareholder, Daniel Galmarini, and certain of our
shareholders and employees. Their ownership interests in these
entities range from 0% to 100%. These related party leases have
expiration dates through May 31, 2016 and provide for annual lease
payments ranging from approximately $30,000 to $392,000. The
aggregate lease payments we made to the entities owned by these
related parties were approximately $1,200,000, $1,853,000,
$2,325,000 and $476,000 in 2001, 2002, 2003 and for the three
months ended March 31, 2004, respectively.

In October 1999, we entered into a sublease arrangement with a
partnership which is owned by certain of our shareholders to lease
space to the partnership for an MRI center in Mount Kisco, New
York. Sublease rentals paid by the partnership to us were
approximately $265,000, $497,000, $569,000 and $141,000 during

-13-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 14 of 29 PageID 14

2001, 2002, 2003, and for the three months ended March 31, 2004,
respectively.

Indebtedness with Related Parties

We provide funds to MRSJ, Inc., a provider of diagnostic imaging
services, which is also owned by certain of our directors, officers,
principal shareholders, shareholders and employees. The funds are for
start-up costs and monthly charges for the allocated costs of our staff
who perform services on behalf of MRSJ, Inc. Drs. Sheridan,
Dosoretz, Katin, Rubenstein and Garton as well as Mr. Galmarini
each own a 12.5% interest in MRSJ, Inc. At December 31, 2002,
2003 and for the three months ended March 31, 2004, MRSJ, Inc.
was indebted to us in the amount of $41,000, $87,000 and $116,000,
respectively. Interest is not charged on the balance. We will not make
any further loans to MRSJ, Inc.

We provided funds to certain land partnerships and Devoto
Construction, Inc., a general contractor, which is also owned by
certain of our directors, officers, principal shareholders, shareholders
and employees. Drs. Sheridan, Dosoretz, Rubenstein, Katin and
Garton as well as Mr. Galmarini each own a 11.1% interest in Devoto
Construction, Inc. These entities were indebted to us in the amount of
$5,000, $6,000 and $500 at December 31, 2002, 2003 and at March
31, 2004 respectively. We also made payments to Devoto
Construction, Inc. for remodeling of our treatment centers. Payments
were $129,000, $336,000, $771,000 and $156,000 in 2001, 2002,
2003 and for the three months ended March 31, 2004, respectively.
Simultaneously with the closing of this offering, Devoto
Construction, Inc. will be acquired by us. Pursuant to a binding
agreement between the parties, we will acquire 100% of the
outstanding shares of Devoto Construction, Inc. or all of the assets of
Devoto Construction, Inc., at our option, for an aggregate purchase
price of $3,528,000, which shall be paid in the form of our common
stock based on the initial public offering price. The aggregate amount
of shares of our common stock to be issued in connection with this
purchase is 271,385, based upon the initial public offering price of
$13.00 per share.

At March 31, 2004, we were indebted to certain of our directors,
officers, principal shareholders and their relatives, and certain entities
in which they own an interest, as detailed below:

-14-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 15 of 29 PagelD 15

Dr. Sheridan holds promissory notes in the principal amount of
$345,608. The notes bear interest at the rate of 8.0% per annum and
are due on demand. At March 31, 2004, $526,579 in principal and
accrued interest was outstanding under these notes.

Mildred Sheridan, Dr. Sheridan’s mother, holds a promissory note in
the principal amount of $200,000, which bears interest at the prime
rate (4.0% at December 31, 2003) and is due on demand. At March
31, 2004, $200,000 in principal and accrued interest was outstanding
under this note.

Dr. Sheridan, as trustee under the will of his father, holds promissory
notes in the principal amounts of $99,000 and $80,000, respectively,
which bear interest at the prime rate and are due on demand. At
March 31, 2004, $179,000 in principal and accrued interest was
outstanding under these notes.

Natalie Driggers, Dr. Sheridan’s wife’s aunt, holds promissory notes
in the principal amounts of $100,000 and $90,000, respectively. The
notes bear interest at the prime rate and are due on demand. At March
31, 2004, $190,000 in principal and accrued interest was outstanding
under these notes.

Dr. Dosoretz holds promissory notes in the principal amount of
$257,273, which bear interest at the rate of 8.0% per annum and are
due on demand. At March 31, 2004, $390,233 in principal and
accrued interest was outstanding under these notes.

Dr. Katin, holds promissory notes in the principal amount of
$276,973. The notes bear interest at the rate of 8.0% per annum and
are due on demand. At March 31, 2004, $407,390 in principal and
accrued interest was outstanding under these notes.

Dr. Rubenstein holds promissory notes in the principal amount of
$319,665. The notes bear interest at the rate of 8.0% per annum and
are due on demand. At March 31, 2004, $465,045 in principal and
accrued interest was outstanding under these notes.

Drs. Katin, Dosoretz and Sheridan are partners in a partnership that
acquired a promissory note in the principal amount of $320,000 that
bears interest at the prime rate. During 2002, this promissory note
was repaid by us.

-15-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 16 of 29 PageID 16

We plan to pay $2.7 million of these loans with the net proceeds of
this offering. We do not plan on borrowing from or providing loans
to any of our affiliates in the future.

We also have a loan outstanding to Dr. Garton. The note bears
interest at prime rate and is due on September 1, 2017. At March 31,
2004, $290,835 in principal and accrued interest was outstanding.

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We currently contract with Radiology Regional Center, P.A., which
was owned in part by Dr. Sheridan, to provide PET scans to our
patients. We reimburse Radiology Regional Center, P.A. for services,
supplies, equipment and personnel to provide these services.
Purchases by us from this company were approximately $291,000,
$270,000, $530,000 and $87,000 for 2001, 2002, 2003 and for the
three months ended March 31, 2004, respectively.

We provide medical parts and equipment sales to radiation treatment
centers in Argentina, Costa Rica and Guatemala, which are owned by
a family member of Dr. Dosoretz. Sales of medical equipment to
these radiation treatment centers were approximately $156,000,
$181,000, $267,000 and $11,000 in 2001, 2002, 2003 and for the
three months ended March 31, 2004, respectively. Gain on the sale of
the medical equipment was approximately $14,000, $16,000, $24,000
and $1,000 in 2001, 2002, 2003 and for the three months ended
March 31, 2004, respectively. Balances in accounts receivable were
approximately $94,000, $149,000, $211,000 and $212,000 at
December 31, 2001, 2002, 2003 and for the three months ended
March 31, 2004, respectively. In August 2000, we financed the
purchase of a nucletron high-dose remote after loader by the Costa
Rica operation. A $288,000 note, including an effective interest rate
of 16.075% was taken in exchange for the equipment. At December
31, 2002 and 2003, a balance of $188,000 and $149,000 remained
outstanding on this note. The current balance as of March 31, 2004 is
$149,000.

We provide billing and collection services to Riverhill MRI
Specialists, P.C., a provider of medical services in New York which
is owned by certain of our directors, officers, principal shareholders,
shareholders and employees. Drs. Sheridan, Dosoretz, Katin,
Rubenstein and Garton and Mr. Galmarini each own a 10.4% interest
in Riverhill MRI Specialists, P.C. The fees paid to us by such

-16-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 17 of 29 PagelD 17

professional corporation for the billing and collection services was
approximately $3,600, $127,300, $185,000 and $19,000 for 2001,
2002, 2003 and for the three months ended March 31, 2004,
respectively.

In October 2003, we contracted with Batan Insurance Company SPC,
LTD, anewly-formed entity, which is owned by Drs. Katin, Dosoretz,
Rubenstein and an employee to provide us with malpractice insurance
coverage. During 2003, we paid premium payments to Batan
Insurance Company SPC, LTD of approximately $1,721,000 for
coverage from October 2003 to October 2004 and $687,000 in the
period ended March 31, 2004. In prior years, we obtained our
insurance from a non-affiliated insurance company. The new
insurance company is managed by AON Corporation, pursuant to a
management agreement.

There are currently five family members of certain directors, officers
and shareholders who are employed by us. Total compensation paid
to family members was $336,184, $366,822 and $456,126 for 2001,
2002 and 2003, respectively.

34. On June 29, 2004, the Company announced that the underwriters of its recently
completed initial public offering of common stock had exercised in full their over-allotment option
to purchase an additional 825,000 shares from certain selling shareholders at the original initial
public offering price of $13 per share. The exercise of the over-allotment increased the size of the
initial public offering to 6.325 million shares of common stock, of which 4 million were newly
issued shares sold by the Company and 2.35 million were existing shares sold by the selling
shareholders.

35. The statements referenced above in {§ 28-34 were each materially false and
misleading because they failed to disclose and misrepresented the following adverse facts, among

others: (1) that Company's IPO was purely a liquidity event for management/owners—not a source

of growth capital for the Company because 100% of the IPO proceeds went into the hands of the

-17-
 

Case 2:04-cv-00470-JES-SPC Document 1 Filed 09/21/04 Page 18 of 29 PagelD 18

Company’s primary shareholders; (2) that the numerous related party transactions by the Company
increased the risk of its business model running afoul of State and Federal laws governing corporate
practice of medicine, fee splitting and physician-referrals; and (3) that organic revenue growth had
slowed dramatically and could be further disrupted in January due to changes in the way medical
oncologists run their businesses.
The Truth Begins to Emerge

36. On September 9, 2004, Banc of America Securities (“Banc of America”) initiated
coverage of Radiation Therapy Services with a "sell" rating and an $11 target price. Banc of
America said the Company's IPO "was purely a liquidity event for management/owners--not a source
of growth capital for the company." The research house noted that following the IPO management
"gifted itself another 5% of the company via new option grants." Banc of America also drew
attention to the fact that in 2003, Radiation Therapy paid $6.6 million to outside companies
controlled by senior management, underlining the increased regulatory risk of a business model that
could "run afoul of State and Federal laws governing corporate practice of medicine, fee splitting and
physician-referrals." In addition, Banc of America said that although revenue growth remained
"impressive," organic revenue growth had slowed "dramatically" and could be further disrupted in
January due to changes in the way medical oncologists run their business. In conclusion, the
research house said: "We simply cannot recommend purchasing the stock until the company’s board
structure (currently four insiders, just three independent directors) and extensive related party
relationships are materially overhauled."

37. News of this shocked the market, shares of Radiation Therapy fell $1.66 per share,

or 11.98 percent, to close at $12.20 per share on unusually heavy trading volume.

-18-
 

Case 2:04-cv-00470-JES-SPC Document 1 Filed 09/21/04 Page 19 of 29 PageID 19

UNDISCLOSED ADVERSE FACTS

38. The market for Radiation Therapy ’s securities was open, well-developed and
efficient at all relevant times. As a result of these materially false and misleading statements and
failures to disclose, Radiation Therapy ’s securities traded at artificially inflated prices during the
Class Period. Plaintiff and other members of the Class purchased or otherwise acquired Radiation
Therapy securities relying upon the integrity of the market price of Radiation Therapy ’s securities
and market information relating to Radiation Therapy , and have been damaged thereby.

39, During the Class Period, defendants materially misled the investing public, thereby
inflating the price of Radiation Therapy ’s securities, by publicly issuing false and misleading
statements and omitting to disclose material facts necessary to make defendants’ statements, as set
forth herein, not false and misleading. Said statements and omissions were materially false and
misleading in that they failed to disclose material adverse information and misrepresented the truth
about the Company, its business and operations, as alleged herein.

40. At all relevant times, the material misrepresentations and omissions particularized
in this Complaint directly or proximately caused or were a substantial contributing cause of the
damages sustained by plaintiff and other members of the Class. As described herein, during the
Class Period, defendants made or caused to be made a series of materially false or misleading
statements about Radiation Therapy ’s business, prospects and operations. These material
misstatements and omissions had the cause and effect of creating in the market an unrealistically
positive assessment of Radiation Therapy and its business, prospects and operations, thus causing
the Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and misleading statements during the Class Period resulted in plaintiff and other

-19-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 20 of 29 PagelID 20

members of the Class purchasing the Company’s securities at artificially inflated prices, thus causing
the damages complained of herein.
ADDITIONAL SCIENTER ALLEGATIONS

41. As alleged herein, defendants acted with scienter in that defendants knew that the
public documents and statements issued or disseminated in the name of the Company were
materially false and misleading; knew that such statements or documents would be issued or
disseminated to the investing public; and knowingly and substantially participated or acquiesced in
the issuance or dissemination of such statements or documents as primary violations of the federal
securities laws. As set forth elsewhere herein in detail, defendants, by virtue of their receipt of
information reflecting the true facts regarding Radiation Therapy , their control over, and/or receipt
and/or modification of Radiation Therapy allegedly materially misleading misstatements and/or their
associations with the Company which made them privy to confidential proprietary information
concerning Radiation Therapy , participated in the fraudulent scheme alleged herein.

42. Defendants knew and/or recklessly disregarded the falsity and misleading nature of
the information which they caused to be disseminated to the investing public. The ongoing
fraudulent scheme described in this complaint could not have been perpetrated over a substantial
period of time, as has occurred, without the knowledge and complicity of the personnel at the highest
level of the Company, including the Individual Defendants.

43. During the Class Period and with its stock trading at inflated levels, insiders sold
1,852,071 shares of Radiation Therapy for gross proceeds totaling more than $24 million as

evidenced by the chart below:

-20-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 21 of 29 PagelID 21

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE SHARES/PRICE PROCEEDS
Daniel E. Dosoretz 06/23/2004 421,387 @ $13.000 $5,478.031.00
06/30/2004 231,762 @ $13.000 $3,012,906.00
Total Shares Sold:653,149 Total Proceeds:
$8,490,937.00
Michael J. Katin 06/23/2004 290,118 @ $13.000 $3,771,534.00
06/30/2004 159,565 @ $13.000 $2,074,345.00
Total Shares Sold: $449,683 | Total Proceeds:
$5,845,879. 00
James H. Rubenstein | 06/23/2004 317,657 @ $13.000 $4,129,541.00
06/30/2004 174,711 @ $13.000 $2,271,243.00
Total Shares Sold: $492,368 | Total Proceeds:
$6,400, 784.00
Howard M. Sheridan | 06/23/2004 165,723 @ $13.000 $2,154,399.00
06/30/2004 91,148 @ $13.000 $1,184,924.00
Total Shares Sold: 256,871 Total Proceeds:
$3,339,323.00
Total Shares Sold: Total Proceeds:
1,852,071 $24,076,923.00
(Emphasis added.)

Applicability Of Presumption Of Reliance:
Fraud-On-The-Market Doctrine

44. _ At all relevant times, the market for Radiation Therapy securities was an efficient
market for the following reasons, among others:
(a) Radiation Therapy stock met the requirements for listing, and was listed and
actively traded on the NASDAQ, a highly efficient and automated market;
(b) As a regulated issuer, Radiation Therapy filed periodic public reports with the
SEC and the NASDAQ;
(c) Radiation Therapy regularly communicated with public investors via established

market communication mechanisms, including through regular disseminations of press releases on

-21-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 22 of 29 PageID 22

the national circuits of major newswire services and through other wide-ranging public disclosures,
such as communications with the financial press and other similar reporting services; and

(d) Radiation Therapy was followed by several securities analysts employed by
major brokerage firms who wrote reports which were distributed to the sales force and certain
customers of their respective brokerage firms. Each of these reports was publicly available and
entered the public marketplace.

45. As aresult of the foregoing, the market for Radiation Therapy securities promptly
digested current information regarding Radiation Therapy from all publicly-available sources and
reflected such information in Radiation Therapy ’s stock price. Under these circumstances, all
purchasers of Radiation Therapy securities during the Class Period suffered similar injury through
their purchase of Radiation Therapy securities at artificially inflated prices and a presumption of
reliance applies.

NO SAFE HARBOR

46. The statutory safe harbor provided for forward-looking statements under certain
circumstances does not apply to any of the allegedly false statements pleaded in this complaint.
Many of the specific statements pleaded herein were not identified as “forward-looking statements”
when made. To the extent there were any forward-looking statements, there were no meaningful
cautionary statements identifying important factors that could cause actual results to differ materially
from those in the purportedly forward-looking statements. Alternatively, to the extent that the
statutory safe harbor does apply to any forward-looking statements pleaded herein, defendants are
liable for those false forward-looking statements because at the time each of those forward-looking

statements was made, the particular speaker knew that the particular forward-looking statement was

-22-
 

 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 23 of 29 PagelID 23

false, and/or the forward-looking statement was authorized and/or approved by an executive officer
of Radiation Therapy who knew that those statements were false when made.

FIRST CLAIM
Violation Of Section 10(b) Of
The Exchange Act Against And Rule 10b-5
Promulgated Thereunder Against All Defendants

47. Plaintiff repeats and realleges each and every allegation contained above as if fully
set forth herein.
48. During the Class Period, defendants carried out a plan, scheme and course of conduct

which was intended to and, throughout the Class Period, did: (i) deceive the investing public,
including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and other
members of the Class to purchase Radiation Therapy securities at artificially inflated prices. In
furtherance of this unlawful scheme, plan and course of conduct, defendants, and each of them, took
the actions set forth herein.

49. Defendants (a) employed devices, schemes, and artifices to defraud; (b) made untrue
statements of material fact and/or omitted to state material facts necessary to make the statements
not misleading; and (c) engaged in acts, practices, and a course of business which operated as a fraud
and deceit upon the purchasers of the Company’s securities in an effort to maintain artificially high
market prices for Radiation Therapy securities in violation of Section 10(b) of the Exchange Act
and Rule 10b-5. All defendants are sued either as primary participants in the wrongful and illegal
conduct charged herein or as controlling persons as alleged below.

50. Defendants, individually and in concert, directly and indirectly, by the use, means or

instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

-23-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 24 of 29 PagelD 24

continuous course of conduct to conceal adverse material information about the business, operations
and future prospects of Radiation Therapy as specified herein.

51. These defendants employed devices, schemes, and artifices to defraud, while in
possession of material adverse non-public information and engaged in acts, practices, and a course
of conduct as alleged herein in an effort to assure investors of Radiation Therapy value and
performance and continued substantial growth, which included the making of, or the participation
in the making of, untrue statements of material facts and omitting to state material facts necessary
in order to make the statements made about Radiation Therapy and its business operations and
future prospects in the light of the circumstances under which they were made, not misleading, as
set forth more particularly herein, and engaged in transactions, practices and a course of business
which operated as a fraud and deceit upon the purchasers of Radiation Therapy securities during the
Class Period.

52. Each of the Individual Defendants’ primary liability, and controlling person liability,
arises from the following facts: (i) the Individual Defendants were high-level executives and/or
directors at the Company during the Class Period and members of the Company’s management team
or had control thereof; (ii) each of these defendants, by virtue of his responsibilities and activities
as a senior officer and/or director of the Company was privy to and participated in the creation,
development and reporting of the Company’s internal budgets, plans, projections and/or reports;
(iti) each of these defendants enjoyed significant personal contact and familiarity with the other
defendants and was advised of and had access to other members of the Company’s management
team, internal reports and other data and information about the Company’s finances, operations, and

sales at all relevant times; and (iv) each of these defendants was aware of the Company’s

-24-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 25 of 29 PageID 25

dissemination of information to the investing public which they knew or recklessly disregarded was
materially false and misleading.

53. The defendants had actual knowledge of the misrepresentations and omissions of
material facts set forth herein, or acted with reckless disregard for the truth in that they failed to
ascertain and to disclose such facts, even though such facts were available to them. Such defendants’
material misrepresentations and/or omissions were done knowingly or recklessly and for the purpose
and effect of concealing Radiation Therapy operating condition and future business prospects from
the investing public and supporting the artificially inflated price of its securities. As demonstrated
by defendants’ overstatements and misstatements of the Company’s business, operations and
earnings throughout the Class Period, defendants, if they did not have actual knowledge of the
misrepresentations and omissions alleged, were reckless in failing to obtain such knowledge by
deliberately refraining from taking those steps necessary to discover whether those statements were
false or misleading.

54. As a result of the dissemination of the materially false and misleading information
and failure to disclose material facts, as set forth above, the market price of Radiation Therapy
securities was artificially inflated during the Class Period. In ignorance of the fact that market prices
of Radiation Therapy publicly-traded securities were artificially inflated, and relying directly or
indirectly on the false and misleading statements made by defendants, or upon the integrity of the
market in which the securities trades, and/or on the absence of material adverse information that was
known to or recklessly disregarded by defendants but not disclosed in public statements by
defendants during the Class Period, Plaintiff and the other members of the Class acquired Radiation

Therapy securities during the Class Period at artificially high prices and were damaged thereby.

-25-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 26 of 29 PageID 26

55. At the time of said misrepresentations and omissions, Plaintiff and other members
of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other
members of the Class and the marketplace known the truth regarding the problems that Radiation
Therapy was experiencing, which were not disclosed by defendants, Plaintiff and other members
of the Class would not have purchased or otherwise acquired their Radiation Therapy securities, or,
if they had acquired such securities during the Class Period, they would not have done so at the
artificially inflated prices which they paid.

56. By virtue of the foregoing, defendants have violated Section 10(b) of the Exchange
Act, and Rule 10b-5 promulgated thereunder.

57. Asadirect and proximate result of defendants’ wrongful conduct, Plaintiff and the
other members of the Class suffered damages in connection with their respective purchases and sales
of the Company’s securities during the Class Period.

SECOND CLAIM
Violation Of Section 20(a) Of
The Exchange Act Against the Individual Defendants

58. Plaintiff repeats and realleges each and every allegation contained above as if fully
set forth herein.

59. The Individual Defendants acted as controlling persons of Radiation Therapy within
the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level
positions, and their ownership and contractual rights, participation in and/or awareness of the
Company’s operations and/or intimate knowledge of the false financial statements filed by the
Company with the SEC and disseminated to the investing public, the Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

-26-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 27 of 29 PagelID 27

making of the Company, including the content and dissemination of the various statements which
Plaintiff contend are false and misleading. The Individual Defendants were provided with or had
unlimited access to copies of the Company’s reports, press releases, public filings and other
statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were
issued and had the ability to prevent the issuance of the statements or cause the statements to be
corrected.

60. In particular, each of these defendants had direct and supervisory involvement in the
day-to-day operations of the Company and, therefore, is presumed to have had the power to control
or influence the particular transactions giving rise to the securities violations as alleged herein, and
exercised the same.

61. Asset forth above, Radiation Therapy and the Individual Defendants each violated
Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of
their positions as controlling persons, the Individual Defendants are liable pursuant to Section 20(a)
of the Exchange Act. As a direct and proximate result of defendants’ wrongful conduct, Plaintiff
and other members of the Class suffered damages in connection with their purchases of the
Company’s securities during the Class Period.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

(a) Determining that this action is a proper class action, designating Plaintiff as Lead
Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the Federal Rules of Civil

Procedure and Plaintiff's counsel as Lead Counsel;

-27-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 28 of 29 PagelID 28

(b) Awarding compensatory damages in favor of Plaintiff and the other Class
members against all defendants, jointly and severally, for all damages sustained as a result of
defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

(c) Awarding Plaintiff and the Class their reasonable costs and expenses incurred in
this action, including counsel fees and expert fees; and

(d) Such other and further relief as the Court may deem just and proper.

JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury.

Dated: September 20, 2004 BARKER, RODEMS & COOK, P.A.

OW Bak—

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Florida Bar No. 885568

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Telephone: (610) 667-7706

Attorneys for Plaintiff

-28-
 

Case 2:04-cv-00470-JES-SPC Document1 Filed 09/21/04 Page 29 of 29 PagelD 29

CERTIFICATION OF NAMED PLAINTIFF
PURSUANT. TO FEDERAL SECURITIES LAWS

Kssée. Fa miny TRESS? .
J, (print name) SHEL Pew /K< CSSEL, LZHREST ER ("Pleintifl) declare, as to the claims asserted under the fedoral

sceurities Jaws, thar:

{, - Plaintiff has reviewed the Complaint and authorizes its filing.

2. Plajntif? did not purchase the seeurity that is the subject of this action at the direction of Plaintiffs counsol or in order 00
participate in any private action. .
3. Plaintiff is willing to serve as  rearesentutive party on behalf of the class, including providing testimony al deposition and
. ial, if necessary. .
A. Plaintiff's transaction(s) in tho Radiation Therapy Services, Tac. (Nasdaq: RTSX) securlty that is the subject of this .

uction during the Class Period isfare as follows’;

 

 

 

 

 

 

 

 

 

No.of Shares . BuySell . Date Price Per Shaye
SSS :
800 Buy P-6-0Y | yy gs
80 SELL _F- 6-o* [2-90

"List addidonal uansuctions on 8 separate sheet f paper, ifnccossayy

5, ' Plaintiff has complete invezmmeny authority and ja the agent and Allomey=in-face with full power and authority to bring a suit
%0 recover for investment losses.

6. During the thrse years prior to une date of this Certification, Plaintiff has sought to Berve or served us a representative party .
ora class in the Collowing actions filed under the faderal securities laws Gf Tone, £0 indieate):

7 Plaintiff will not accept any payment for serving as a represcmative party on bebalf of the class beyond the Plaintiff's pro
tara share of any recovery, except such reasonable costs and expenses {including lost wages) direculy relating to the représencarion of the class
as ordered or approved by she Court,

Il declare under penalty of perjury that the foregoing is ue end cones :

Eneouted this ASThaay of prs BEA. 2004. Chhedtor Kivraet toa Lae

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sint Name
